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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1442V
                                        UNPUBLISHED


    DOMINIQUE ROBERTS,                                       Chief Special Master Corcoran

                         Petitioner,
    v.                                                       Filed: January 19, 2022

    SECRETARY OF HEALTH AND                                  Special Processing Unit (SPU);
    HUMAN SERVICES,                                          Ruling on Entitlement; Concession;
                                                             Table Injury; Human Papillomavirus
                        Respondent.                          (HPV); Shoulder Injury Related to
                                                             Vaccine Administration (SIRVA).

Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for Petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for Respondent.

                                    RULIING ON ENTITLEMENT1

        On October 22, 2020, Dominique Roberts filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she experienced a shoulder injury related to vaccine
administration (“SIRVA”) as a result of the administration of a human papillomavirus
(“HPV”) vaccine on January 19, 2018. Petition at Preamble. Petitioner further alleges that
she received the vaccine in the United States, that she suffered the residual effects of her
injury for more than six months, and that neither she nor any other party has filed a civil
action or received compensation for his injury. Petition at 1, ¶¶ 2, 11-12. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On January 18, 2022, Respondent filed a combined Rule 4(c) Report and Proffer
in which he concedes that Petitioner is entitled to compensation in this case. Rule 4(c)

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Report and Proffer (ECF No. 20). Specifically, the records show that Petitioner had no
history of pain, inflammation, or dysfunction of her right shoulder; Petitioner’s pain
occurred within 48 hours after receipt of an intramuscular vaccination; Petitioner’s pain
was limited to the shoulder in which the vaccine was administered; and no other condition
or abnormality has been identified to explain Petitioner’s shoulder pain. Id. at 4.
Respondent further agrees that the statutory six-month sequela requirement has been
satisfied. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.
                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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